       Case: 20-15398, 10/30/2023, ID: 12817314, DktEntry: 142, Page 1 of 3




                   UNITED STATES COURT OF APPEALS                      FILED
                          FOR THE NINTH CIRCUIT                        OCT 30 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS
CITY AND COUNTY OF SAN                        No.    20-15398
FRANCISCO,
                                              D.C. No. 3:19-cv-02405-WHA
               Plaintiff-Appellee,            Northern District of California,
                                              San Francisco
 v.
                                              ORDER
ALEX M. AZAR II, Secretary of U.S.
Department of Health and Human Services;
ROGER T. SEVERINO, Director, Office for
Civil Rights, Department of Health and
Human Services; U.S. DEPARTMENT OF
HEALTH & HUMAN SERVICES,

               Defendants-Appellants.


STATE OF WASHINGTON,                          No.    20-35044

               Plaintiff-Appellee,            D.C. No. 2:19-cv-00183-SAB

 v.

ALEX M. AZAR II; U.S. DEPARTMENT
OF HEALTH & HUMAN SERVICES,

               Defendants-Appellants.


COUNTY OF SANTA CLARA; LOS                    No.    20-15399
ANGELES LGBT CENTER; WHITMAN-
WALKER CLINIC, INC., DBA Whitman-             D.C. No. 3:19-cv-02916-WHA
Walker Health; BRADBURY-SULLIVAN
LGBT COMMUNITY CENTER; CENTER
ON HALSTED; HARTFORD GYN
        Case: 20-15398, 10/30/2023, ID: 12817314, DktEntry: 142, Page 2 of 3




CENTER; MAZZONI CENTER; MEDICAL
STUDENTS FOR CHOICE; AGLP: THE
ASSOCIATION OF LGBTQ+
PSYCHIATRISTS; AMERICAN
ASSOCIATION OF PHYSICIANS FOR
HUMAN RIGHTS, DBA GLMA: Health
Professionals Advancing LGBTQ Equality;
COLLEEN MCNICHOLAS; ROBERT
BOLAN; WARD CARPENTER; SARAH
HENN; RANDY PUMPHREY,

                Plaintiffs-Appellees,

 v.

U.S. DEPARTMENT OF HEALTH &
HUMAN SERVICES; ALEX M. AZAR II,
in his official capacity as Secretary of Health
and Human Services,

                Defendants-Appellants.


STATE OF CALIFORNIA,                              No.   20-16045

                Plaintiff-Appellee,               D.C. No. 3:19-cv-02769-WHA

 v.

ALEX M. AZAR II, in his official capacity
as Secretary of the U.S Department of Health
& Human Services; U.S. DEPARTMENT
OF HEALTH & HUMAN SERVICES,

                Defendants-Appellants.

Before: BERZON, CHRISTEN, and BADE, Circuit Judges.
Order by Judges BERZON and CHRISTEN; Dissent by Judge BADE.



                                          2
        Case: 20-15398, 10/30/2023, ID: 12817314, DktEntry: 142, Page 3 of 3




      In its most recent status report, the government stated that it has submitted a

final rule for review and approval to the Office of Information and Regulatory

Affairs (OIRA) that may moot this case. Accordingly, the government’s request

that this case be held in abeyance for six months or until thirty days after the

issuance of a final rule, whichever is sooner (Dkt. No. 141), is GRANTED. At the

end of that period, the parties shall provide the Court with a report as to the status

of the rulemaking process and may file motions to govern further proceedings.

      Judge Bade dissents to this twelfth request to hold this case in abeyance for

the reasons stated in her dissent to the court’s June 16, 2022 order, Dkt. No. 130, as

incorporated in her dissent to the court’s October 7, 2022 and April 6, 2023 orders,

Dkt. Nos. 132 and 140, in which the court granted the government’s previous

requests to hold the case in abeyance.




                                           3
